                                     Case 5:19-cv-00461-XR Document 1-5 Filed 05/02/19 Page 1 of 4
JS 44 (Rev. 06/17)                                                                  CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet (.\'Hi:' INS1'1WCTIONS ON NI!X'J' PAGE OF THIS J.'OR/'.4.)

I. (a) PLAINTIFFS                                                                                                           DEFENDANTS
            Jesus A. Mendoza                                                                                                 William Fry

    (b)    County of Residence of First Listed Plaintiff                   __f3exar C:C:X:)_                                County of Residence of First Listed Defendant                         Indiana (PA)
                                     (EXC'EPT IN U.S. PI.AINTIFF ('ASH.'I')                                                                                      (IN (t.S. l'i.AIN'/'IFF C'ASES ON/,}')
                                                                                                                            NOTE:       IN LAND CONDEtviNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.


    (c)    Attorneys (Firm Name, Address, and Telephone N11mher}                                                             Attorneys afKnown)
          Thomas J. Henry and Greg Wilson                                                                                     Frank Alvarez
          Law Office of Thomas J. Henry        Tel: (361) 985-0600                                                            Quintairos, Prieto, Wood & Boyer, P.A.     Tel: (214) 754-8755
          521 Starr St., Corpus Christi, TX 78401                                                                              1700 Pacific Ave., Suite 4545, Dallas, TX 75201
II. BASIS OF ,JURISDICTION (Placem1 "X" inOneBoxOnlyJ                                                       Ill. CITIZENSHIP OF PRINCIPAL PARTIES (!'lace an "X" in One Box for l'laim!fJT
                                                                                                                       (For /Ji!'l!l~~il)' Cases Only}                                               and Onr: Box .for Defendam)
01     U.S. Govemment                       0 3 Federal Question                                                                                     PTI''          DEl'                                              I'TF     IJEI'
            Plaintiff                             (US. Govemme/11 No! a Pal'l)~                                  Citizen of This State               !J:i           0 I         Incorporated or Principal Place         0 4    0"
                                                                                                                                                                                  of Business In This State

0 2 U.S. Govemment                          !14     Diversity                                                    Citizen of Another State            0 2             ~ 2        Incorporated and Principal Place      0 5       0 5
            Defendant                                 (Indicate ('itizenship ofl'al'lle.1· in /!em Ill)                                                                            of Business In Another State

                                                                                                                 Citizen or Subject of a             0 3             0     3    Foreign Nation                        0   6     0 6
                                                                                                                   Forei •n Count! '
IV. NATURE OF SUIT (i'lac'""                          "X"'" c;," ll<>xOai>1                                                                                          Click here f'or: Nalure' !'Suit CodciE               1 I


0 II 0 Insurance                                PERSONAL INJURY                    PERSONAL INJU!l\'             0 625 Drug Related Seizure                 0 422 Appeal28 USC 158                 0 375 False C'launs Act
0 120 1\•lmine                           0 310 Airplane                       0 365 Personal lnjUiy -                  of Property 21 USC 881               0 423 Withdrawal                       0 376 Qm Tam (31 USC
0 130 l\•liller Act                     I0 315 Airplane Product                        Product Liability         0 690 Other                                             28   usc 157                       3729(a))
0 1•10 Negotiable lnstntment                    Liability                     0 36 7 Health Care/                                                                                                   0   400 State ReappOtiionment
0 150 Recovery of Overpayment            0 320 Assault, Libel &                  Phannaceutical                                                                                                     0   410 Antitrust
      & Enforcement                             Slander                          Personal lnjuty                                                            10 820•      .                          0   430 Banks and Banking
0 151 Medicare Act            "          0 330 Federal Employers'                Product Liability                                                          0 830 P;t~~~~·o•                        0   450 Commerce
0 152 Recove1y of Delimited                     Liability                 0 368 Asbestos Personal                                                           0 835 Patent - Abbreviated              0   460 Deportation
        Student Loans                    0 340 Marine                             !njmy Product                                                                          New Drug Application       0   470 Racketeer Influenced and

0
        (Excludes Veterans)
    153 Recovel)' of Overpayment
                                         0 345 Marine Product
                                                Liability
                                                                                 Liability
                                                                           I'EitSONAL I'ROI'ERTY
                                                                                                                                                            I0840 Tmdom,rl-                         0
                                                                                                                                                                                                            Corrupt Organizations
                                                                                                                                                                                                        480 Consumer Credit
                                         ~ 350 Motor Vehicle                                       o 710 r,;,
                                                                                                                                                            I0
                                                                                                                                                             0 86 ~ ~:;:;""II)'
        of Veteran's Benefits                                             0 370 Other Fraud                                                                                                         0   490 Cable/Sat TV
0   160 Stockholders' Suits              0 355 Motor Vehicle              0 371 T111tb in Lending          Acl                                                    862           Lung(923)           0   850 Securities/Commodities/
0   190 Other Contract                         Product Liability          0 380 Other Personal     0 720 Labor/Management                                   0 863 Dl\VC/D!\VW (405(g)}                       Exchange
0   195 Contract Product Liability       0 360 Other Personal                    Property Damage          Relations                                         0 86<! SSID Title XVI                   0   890 Other Statutory Actions
0   ]96 Franchise                              lttiuty
                                         0 362 Personallnjmy-
                                                                          0 385 Property Damage
                                                                                 Product Liability
                                                                                                                 g
                                                                                                      740 Railway Labor Act
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                                                                                                      751 Family and Medical
                                                                                                                                                            0 865 RSI {405(g))                      0
                                                                                                                                                                                                    0
                                                                                                                                                                                                        891 Ab'l·icultural Acts
                                                                                                                                                                                                        893 Environmental Matters
                                                    Modioru                                               Leave Act                                                                                 0   895 Freedom oflnfom1ation
                                                                                           '          790 Other Labor Litigation                                                                             Aol
0   210 Land Condemnation                0      440 Other Civil Rights       Habeas Corpus:        0 791 Employee Retirement                                    0 870 Taxes (U.S. Plaintiff         0   896 Arbitration
0   220 Foreclosure                      0      441 Voting                ~ 463 Alien Detainee            Income Security Act                                         or Defendant)                 0   899 Administrative Procedure
0   230 Rent Lease & Ejectment           0      442 Employment            0 510 Motions to Vacate                                                               0 871 IRS-Third Pa1ty                       Act/Review or Appeal of
0                                        0                                                                                                                            26 usc 7609
0
0
    240 Torts to Land
    245 T01t Product Liability
    290 All Other Real Property          0
                                                443 Housing/
                                                    Accommodations             e Sentence
                                                                             530 General
                                                445 Amer. w!Disabilities- 0 535 Death Penalty
                                                                                                                                                                                                    0
                                                                                                                                                                                                            Agency Decision
                                                                                                                                                                                                        950 Constitutionality of
                                                                                                                                                                                                            State Statutes
                                                    Employment               Oth~r:                [)462        ,.           ;
                                            0   446 Amer. w/Disabilities- 0 540 Mandamus & Other                 0
                                                                                                      465 Other Immigration
                                                    Other                 ~ 550 Civil Rights              Actions
                                            0   448 Education             0 555 P1ison Condition
                                                                          0 560 Civil Detainee·
                                                                                 Conditions of
                                                                                 Confinement

V, 0 Rl GIN             (Place an "X" in One Box Only}
0 1       Original           ts;:2   Removed from                0     3     Remanded from                 0 4    Reinstated or        0 5    Transferred tfom                  0 6     Multidistrict         0 8   Mu!tidistrict
          Proceeding                 State Court                             Appellate Court                      Reopened                    Another District                          Litigation-                 Litigation-
                                                                                                                                               (.rpecifJ~                               Transfer                    Direct File
                                                 Cite the   U.S. Civil    Statute under which you are filing (Do11ot eitejuri.l'tlictimlfll,\'ll!lute~· w1les.\' dil'et'.l'il)~:

VI. CAUSE OF A CTION
                                                L2~8=U~.~S=.C~.~~1f33~2~a~n~d~1~4~4~1------------------------------------------------------
                                                1 Bricfdescriptionofcause:
                                                  Persona! in'ur ; motor vehicle accident
VII. REQUESTED IN     0                               CHECK tF TH!S tS A CLASS ACTION                                DEMAND$                                                  CHECK YES      only iJ' demanded in complaint:
     COMPLAINT:                                       UNDER RULE 23, F.R.Cv.P.                                                                                                .JUin' DEMAND:              ~Yes         ONo

VIII. RELATED CASE(S)
                                                    (See ins/ructions}:
      IF ANY                                                                  JUDGE                                                                                DOCKET NUMBER
DATE                                                                               SIGNATURE OF ATTORNEY OF RECORD
05/02/2019                                                                         lsi Frank Alvarez
FOR OFFICE USE ONLY

    RECEIPT#                         AMOUNT                                            APPLYING IFP                                        JUDGE                                        MAG. JUDGE
                  ---                                                                                                                                                                                   -----
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                                United States District Court
                                 Western District of Texas

                Supplemental Civil Cover Sheet for Cases Removed
                                from State Court

     This form must be attached to the Civil Cover Sheet at the time the case is filed in
       the U.S. District Clerk's Office. Additional sheets may be used as necessary.


I.     State Court Information:

       Please identify the coutt from which the case is being removed and specify the number
       assigned to the case in that coutt.

          Court                                      Case Number
          l66 1h Judicial District                   20 l9Cll 05563
          Bexar County, Texas


2.     Style of the Case:

       Please include all Plaintiff(s), Defendant(s), lntervenor(s), Counterclaimant(s),
       Crossclaimant(s) and Third Party Claimant(s) still remaining in the case and indicate their
       patty type. Also, please list the attorney(s) of record for each party named and include
       their bar number, firm name, correct mailing address, and phone number (including area
       code.)

          Party and Party Type                   Attorney(s)
          Jesus A. Mendoza           Plaintiff   Thomas J. Henry
                                                    State Bar No. 09484210
                                                 Greg L. Wilson
                                                    State Bar No. 24066837
                                                 Esteban Sandoval
                                                    State Bar No. 24083789
                                                 THE LAW OFFICE OF THOMAS J. HENRY
                                                 521 Starr St.
                                                 Corpus Christi, TX 78401
                                                 Phone: (361) 985-0600
                                                 Fax: (361) 985-0601
                                                 Email: gwilson-svc@thomasjhenrylaw.com
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       William Fry           Defendant      Frank Alvarez
                                               State Bar No. 00796122
                                            Chris E. Obion
                                               State Bar No. 24102296
                                            QUINTAIROS, PRIETO, WOOD & BOYER, P.A.
                                            1700 Pacific Avenue, Suite 4545
                                            Dallas, Texas 75201
                                            Phone: (214) 754-8755
                                            Fax: (214) 754-8744
                                            Email: frank.alvarez@gpwblaw.com
                                                    chris.oblon@opwblaw.com



3.   Jury Demand:

     Was a Jury Demand made in State Court?             [S] Yes        0No

     If"Yes," by which party and on what date?

        Party                                    Date Filed
        Plaintiff Jesus A. Mendoza               March 19, 20 19



4.   Answer:

     Was an Answer made in State Court?                 [S] Yes        0No

     lf"Yes," by which party and on what date?

        Party                                    Date Filed
        Defendant William Fry                    April 22, 2019



5.   Unserved Parties:

     The following parties have not been served at the time this case was removed:

                                                        Reason(s) for No Service

            Not applicable




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6.   Nonsuited, Dismissed or Terminated Patiies:

     Please indicate any changes from the style on the State Court papers and the reason for that
     change:

                                                          Reason

            Not applicable.


7.   Claims of the Parties:

     The filing party submits the following summary of the remaining claims of each patty in
     this litigation:

        Party                                 Claims
        Plaintiff Jesus A. Mendoza            Negligent operation of a motor vehicle

        Defendant William Fry




                                               3
